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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA


 UNITED STATES OF AMERICA,

                Plaintiff,                                 Case No. 4:21-mj-00011-HCA

 vs.                                                Charging District’s Case No. 1:21-MJ-00025

 DOUGLAS AUSTIN JENSEN,
                                                    ORDER RE: CONDITIONS OF RELEASE
                Defendant.



       On January 11, 2021, Defendant was Indicted in the U.S. District Court for the District of

Columbia on six charges, one felony and five misdemeanors, alleging that he violated the

following statutes:

       18 U.S.C § 231(a)(3) Civil Disorder by impeding law enforcement officer in his
       official duties (the Certification of the Electoral College results);
       18:111(a)(1) Assaulting, Resisting, or Impeding Certain Officers or Employees,
       specifically Officer Eugene Goodman while engaged in his official duties;
       18:1752(a)(1) Entering and Remaining in a Restricted Building, the U.S. Capitol, without
       lawful authority;
       18:1752(a)(2) Disorderly and Disruptive Conduct within the U.S. Capitol, to
       impede the conduct of Government business;
       40:5104(e)(2)(A) Entry and Remaining in the floor of a House of Congress or
       adjacent area, without authorization; and
        40:5104(e)(2)(G) Parading, Demonstrating, and Picketing in a Capitol Building.
       These charges arise out of the riot and mob that overtook the U.S. Capitol on January 6,

2021. Defendant was initially charged on January 8, 2021, in a Complaint (D.D.C. 1-21-MJ-025)

with all but the Assault charge. He was arrested in the Southern District of Iowa on January 11,

2021; he had his Initial Appearance on January 12, 2021; counsel was appointed to represent




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him, and the Government moved for Detention. A Detention Hearing and Identity Hearing were

set for January 19, 2021.

       On January 12, 2021, Defendant waived an Identity Hearing pursuant to Fed. R. Cr. P. 5.

The Detention Hearing was held. The Court reviewed the USPO Bail Report (ECF 12), heard

testimony from the Government, and received a proffer on behalf of the Defendant.

On January 8, 2021, the Defendant voluntarily contacted the Des Moines Police Department and

provided a voluntary four-hour interview with FBI agents that day. The FBI agents gave him a

ride home, as he had walked to the police station, anticipating his arrest. Defendant admitted

that he is the person shown in various media reports (See Gov’t Ex 2-16) wearing a Q-Anon

sweatshirt, who, with others, pursued Officer Goodman up the stairs inside the Capitol, inviting

the officer to “hit me, I’ll take it,” as Defendant was attempting to gain notoriety as the “poster

boy” for the Q-Anon ideology. Defendant admitted that he attended a rally in support of

President Trump, and was incited to march on the Capitol to show support for the arrests of Vice

President Pence and members of Congress. Defendant believed these arrests would occur as part

of President Trumps anticipated enforcement of the “Insurrection Act.”

       Once at the U.S. Capitol, the Defendant climbed a wall, and someone near him removed

a bat from a backpack and broke a window of the Capitol. The Defendant then entered the

Capitol with other rioters. Officer Goodman drew Defendant and others down a corridor of the

Capitol away from the House and Senate Chambers. Defendant was not detained, arrested, or

questioned while on Capitol grounds. He returned to Iowa. He admitted when he entered the

U.S. Capitol through a broken window on January 6, 2021, he possessed a pocket knife (which

he showed to the FBI agents on January 8, 2021). The Government does not allege that he had

any other weapon or dangerous device while at the Capitol on January 6, 2021.



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               The Government asserts that Defendant should be detained both as a danger to the

community pursuant to 18 U.S.C. § 3142(f)(1), and due to a risk of nonappearance or obstruction

of justice pursuant to 18 U.S.C. § 3142(f)(2). Defendant proffers a release plan, which has been

confirmed by the U.S. Probation Office and is detailed in the Bail Report (ECF 12). In order for

a Defendant to be detained, the Court must find, by clear and convincing evidence that there are

no conditions or combination of conditions of release that reasonably assure the safety of the

community, or by a preponderance of the evidence that no conditions of release will assure his

appearance as required.

       As required by 18 U.S.C. § 3142(g), the Court has considered whether there are any

conditions or combination of conditions of release, that will reasonably assure the appearance of

the Defendant and the safety of the community, including the nature and circumstance of the

offense, the weight of the evidence, the Defendant’s criminal history and characteristics,

including community ties, employment, financial resources, past conduct, history of substance

abuse, record of appearances for court proceedings, and the level of danger he presents to

another person or the community.

       Based upon this record, Defendant’s involvement in the riot and invasion of the U.S.

Capitol on January 6, 2021, is undisputed. However, the issue before the Court is whether any

conditions of release would reasonably ensure the safety of the community and Defendant’s

appearance, as required. The Court finds that there is an appropriate combination of conditions of

release, including a Third-Party Custodian, electronic monitoring, and home detention, along

with supervision by the U.S. Probation Office that will reasonably assure the safety of the

community and Defendant’s appearance. An Order setting Conditions of Release is entered

separately.



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       The Order Setting Conditions of Release is Stayed until January 27, 2021, to allow the

Government time to appeal. If the Government does not appeal by 4:00 p.m. CST on January 27,

2021, the U.S. Marshals shall release Defendant. Before Defendant can be released from the Polk

County Jail, electronic monitoring equipment shall be installed as a requirement of supervision

by the U.S. Probation Office, and the Third-Party Custodian shall sign the Order Setting

Conditions of Release.

       IT IS SO ORDERED.

       Dated this 21st day of January, 2021.




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